


  — Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Kings County (Miller, J.), imposed August 5, 2015, upon his plea of guilty, on the ground that the sentence was excessive.
 

  Ordered that the sentence is affirmed.
 

  The defendant’s valid waiver of his right to appeal precludes appellate review of his contention that the sentence imposed was excessive (see People v Bryant, 28 NY3d 1094 [2016]; People v Sanders, 25 NY3d 337 [2015]; People v Lopez, 6 NY3d 248, 255 [2006]).
 

  Eng, P.J., Dillon, Sgroi, Miller and Brathwaite Nelson, JJ., concur.
 
